                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

CYNDY DOMSOHN, ON BEHALF                           CASE NO.: 8:20-CV-2653-T-33CPT
OF HERSELF AND THOSE
SIMILARLY SITUATED,

       Plaintiff,

vs.


IMPERIUM HEALTHCARE, INC., a
Florida Corporation,

       Defendant.                          /


  PLAINTIFFS UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
    ANSWERS TO COURT INTERROGATORIES AND INCORPORATED
                    MEMORANDUM OF LAW

       Pursuant to this Court’s Scheduling Order dated December 17, 2020 (Doc. 9) and

the Federal Rules of Civil Procedure, Plaintiff, respectfully requests a brief extension of

time, up to and including, March 5, 2021, to file the Answers to this Court’s

Interrogatories. Plaintiff’s Answers are currently due February 26, 2021. Plaintiff needs

additional time to review records not yet provided by Defendants in order to complete the

Answers to Interrogatories. Defendant provided voluminous pay and time records which

Plaintiff’s Counsel has reviewed but certain time periods are missing which need to br

produced and incorporated for damage estimates. Plaintiff respectfully requests that this

Court allow a brief extension of time, up to, and including March 5, 2021 to file the

Answers to this Court’s Interrogatories.




                                               1
                              MEMORANDUM OF LAW

       Rule 16 of the Federal Rules of Civil Procedure provides that once entered, the

scheduling order “may be modified only for good cause and with the judge’s consent.”

Fed.R.Civ.P. 16(b)(4). Here, Counsel for Plaintiff maintains good cause is shown to

allow a brief extension of time to answer this Court’s Interrogatories. Plaintiff needs

additional time to review the documents to be provided by Defendants in order for

Plaintiffs’ damage calculations to be as accurate and complete as possible. No party will

be prejudiced by the filing of this motion and Plaintiff has timely filed this motion within

the current deadline to respond.

       WHEREFORE, Plaintiff respectfully requests this Court grant an extension for

Plaintiffs to file their Answers to this Court’s Interrogatories to March 5, 2021.

                               3.01(g) CERTIFICATION

       Plaintiff’s counsel certifies that pursuant to Local Rule 3.01(g) he conferred with

Defendant’s counsel regarding this motion and Defendant does not object to the relief

requested.

       Respectfully submitted this 25th day of February, 2021.


                                                  /s/ C. Ryan Morgan
                                                  C. Ryan Morgan, Esq.
                                                  FBN 0015527
                                                  Morgan & Morgan, P.A.
                                                  20 N. Orange Ave., 15th Floor
                                                  Telephone: (407) 420-1414
                                                  Facsimile: (407) 245-3401
                                                  Email: rmorgan@forthepeople.com
                                                  Attorney for Plaintiffs




                                              2
                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 25th day of February, 2021, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to the following: Charles M. Holloman, III, Esquire, Holloman

Law,     502    N.     Armenia      Ave,    Tampa,      FL     33607,     813-445-8721,

ch2@cmhollomanlaw.com, and Jaimon H. Perry, Esquire, The Perry Law Group, 37 N.

Orange Ave, Suite 500, Orlando, FL 32801. 407-323-2121, jperry@perrylawfla.com,

Attorneys for Defendant.


                                                /s/ C. Ryan Morgan
                                                C. Ryan Morgan, Esq.
                                                FBN 0015527
                                                Morgan & Morgan, P.A.
                                                20 N. Orange Ave., 15th Floor
                                                Telephone: (407) 420-1414
                                                Facsimile: (407) 245-3401
                                                E-mail: rmorgan@forthepeople.com
                                                Attorney for Plaintiffs




                                           3
